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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

  DWAYNE K. STEWART,                                   )
                                                       )
                            Plaintiff,                 )
                                                       )
  v.                                                   )   Case No.
                                                       )
  NORTHEAST ILLINOIS REGIONAL                          )
  COMMUTER RAILROAD                                    )
  CORPORATION, d/b/a METRA,                            )
                                                       )
                            Defendants.                )

                                             COMPLAINT

             Plaintiff, DWAYNE K. STEWART, by and through his attorneys, Timothy J. Coffey

of The Coffey Law Office, P.C., complains of Defendant, NORTHEAST ILLINOIS

REGIONAL COMMUTER RAILROAD CORPORATION, d/b/a METRA as follows:

Nature of Case

1.           Plaintiff brings this action against Defendant to recover damages proximately

             caused by Defendant’s discriminatory acts in violation of Title VII of the Civil Rights

             Act of 1964, as amended, 42 U.S.C. §§ 2000e et seq. (“Title VII”).

Jurisdiction and Venue

2.           This Court has original jurisdiction over Plaintiff’s claims under 28 U.S.C. § 1331,

             and 28 U.S.C. § 1343.

3.           Venue is proper in this Court pursuant to 28 U.S.C. § 1391 and 42 U.S.C. § 2000e-

             5(f)(3) because Defendant’s illegal acts complained of herein took place at

             Defendants’ offices located within the geographical jurisdictional boundaries of this


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             Court.

4.           On December 16, 2005, Plaintiff Dwayne K. Stewart (hereafter “Dwayne”) filed a

             timely charge of illegal race discrimination in violation of Title VII with the local

             district office of the EEOC. On August 12, 2009, the EEOC mailed its Notice of

             Right to Sue to Dwayne at his former address in Lansing, Illinois. Dwayne never

             received this mailing and it went unclaimed at the U.S. Post Office and was

             eventually returned to the EEOC.

5.           On or about November 17, 2009, the EEOC reissued its Notice of Right to DS Sue

             to Dwayne at his then current address in Harvey, Illinois. Dwayne received the

             reissued Notice from the EEOC on November 21, 2009. This Complaint is being

             filed within 90 days of Dwayne’s receipt of the EEOC Right to Sue Notice.

The Parties

6.           Dwayne is an African American male residing at all relevant times in Cook County,

             Illinois.

7.           Defendant Northeast Illinois Regional Commuter Railroad Corporation, d/b/a Metra

             (hereafter “Metra”), is and was at all times relevant hereto an Illinois public

             corporation duly licensed to conduct business in Illinois, and operating and

             maintaining numerous rail lines within the geographical jurisdiction of this Court,

             where the illegal activities described below took place.

8.           At all relevant times, Metra employed in excess of 15 employees at its various

             facilities within this Court’s a geographical jurisdiction, and was thus an employer

             and covered entity as defined under the Title VII.



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Common Facts

9.           In January 1995, Dwayne began his employment with Metra in the position of

             Electrician.

10.          On or about July 2001, Metra promoted Dwayne to the position of Mechanical

             Foreman.

11.          On December 5, 2005, Metra terminated Dwayne’s employment.

12.          Metra had no legitimate reason for terminating Dwayne’s employment.

13.          Metra’s asserted reason for the termination is a pretext to hide its true racial

             motivation for terminating Dwayne’s employment

14.          At all relevant times, Dwayne’s work performance met or exceeded Metra’s

             legitimate expectations.

15.          Metra treated similarly situated, non-African American employees accused of similar

             misdeeds and/or misdeeds of comparable seriousness more favorably.

                            Race Discrimination in Violation of Title VII

16.          Dwayne realleges and reaffirms the allegations of paragraphs 1 through 15, above,

             and sets them forth as paragraph 16, in haec verba.

17.          Title VII makes it unlawful to discriminate against any individual in the terms,

             conditions or privileges of employment on the basis of his or her race.

18.          Metra terminated Dwayne’s employment because of his race in violation of Title VII.

19.          As a direct and proximate result of Metra’s illegal race discrimination as described

             above, Dwayne has suffered mental and physical pain and anguish, a loss of

             wages, including, but not limited to, salary, bonuses, a loss of employment benefits


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             and other pecuniary and non-pecuniary damages.

20.          Metra knew that its acts as described above were prohibited by Title VII, or acted

             with reckless disregard to that possibility.

             WHEREFORE, Plaintiff, DWAYNE K. STEWART, respectfully prays unto this

Honorable Court to enter judgment against Defendant Metra as follows:

      A.     Order Metra to make Dwayne whole by paying him appropriate back pay and
reimbursement for lost pension, social security and other benefits and out-of-pocket
expenses, plus pre-judgment interest in an amount to be shown at trial;

     B.      Order Metra to immediately reinstate Dwayne to his former position or one
comparable thereto; or, in the alternative, order Metra to pay Dwayne an appropriate
amount of front pay;

      C.     Order Metra to pay Dwayne compensatory damages in the maximum amount
allowable under the law;

      D.     Order Metra to pay Dwayne punitive damages in the maximum amount
allowable under the law.

       E.      Order Metra to pay Dwayne’s costs incurred in bringing this action, including,
but not limited to, expert witness fees and reasonable attorneys’ fees;

             F.         Try all issues of fact to a jury; and,

             G.         Grant such other relief as the Court deems just.

                                              Respectfully submitted,
                                              Plaintiff, DWAYNE K. STEWART,


                                              By:         /s/ Timothy J. Coffey
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